                   UNITED STATES DISTRICT COURT
                        DISTRICT OF KANSAS
                                    (Topeka Docket)

UNITED STATES OF AMERICA,

                     Plaintiff,

              v.                                 CASE NO: 15-mj-5040-KGS

ALEXANDER E. BLAIR ,

                     Defendant.




                        CRIMINAL COMPLAINT

       THE UNITED STATES ATTORNEY CHARGES:

                                       COUNT ONE

                                       18 U.S.C. § 4
                                   (Misprision of Felony)

       That beginning on or about March 17, 2015, and continuing through on or about

April 10, 2015, in the District of Kansas, the defendant,

                                  ALEXANDER E. BLAIR,




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having knowledge of the actual commission of a felony cognizable by a court of the

United States, namely attempted use of a weapon of mass destruction, in violation of 18

U.S.C. § 2332a(a)(3), attempted use of a destructive device, in violation of 18 U.S.C. §

844(f)(1), and attempted provision of material support to a foreign terrorist organization,

in violation of 18 U.S.C. § 2339B(a), did conceal the same, and did not as soon as

possible make known the same to some judge or other person in civil or military

authority under the United States.

       All in violation of Title 18, United States Code, Section 4.

       I further state that I am a Special Agent of the Federal Bureau of Investigation

(FBI) and that this complaint is based on the following facts:

       In March of 2014, the FBI began an investigation concerning online statements

posted by John T. Booker, Jr., a/k/a “Mohammed Abdullah Hassan,” wherein Booker

stated his intent to wage Jihad and die in the process.

       Beginning on October of 2014, Booker engaged with an individual who is,

unbeknownst to Booker, an FBI Confidential Human Source (CHS 1). Between on or

about October 8, 2014, and continuing to on or about April 10, 2015, Booker

communicated to CHS 1 his desire to join the Islamic State of Iraq and the Levant (ISIL).

Booker was committed to carrying out an act of violence in support of Jihad and took

steps to construct a vehicle borne improvised explosive device (VBIED), a destructive

device, which he, along with CHS 1, would personally detonate on April 10, 2015 at the

Fort Riley Military Installation, which is real property in whole or in part owned and

possessed by, and leased to, the United States and departments and agencies thereof. Part

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of Booker’s preparations for the attack included renting a storage unit in Topeka, where

components for the VBIED would be stored. Booker was arrested on April 10, 2015, as

he completed final preparations for driving the VBIED onto Fort Riley.

       During the investigation the FBI determined that Booker and the defendant,

Alexander E. Blair, were associated and that Blair shared some of Booker’s extremist

views concerning Jihad against the United States military. Agents learned that Blair

loaned Booker money for the purpose of renting the storage unit mentioned above. Due

to this association, agents contacted and interviewed Blair immediately after Booker’s

arrest on April 10, 2015. During the interview, Blair admitted that he knew about

Booker’s plan to detonate the VBIED. He further stated that he knew Booker believed he

(Booker) was acting on behalf of ISIL; he knew Booker was gathering materials for

constructing the VBIED; he knew Booker intended to deliver the device onto Fort Riley;

and, he knew that Booker planned to kill as many soldiers as possible. Blair admitted to

agents that he loaned money to Booker for rental of the storage unit, knowing that the

unit would be used to store and construct the VBIED. Blair also advised agents that he

urged Booker to cease talking openly about his intentions to conduct an attack for fear of

attracting public attention and being reported to law enforcement. Blair told agents that

he believed he had in fact been recently put under law enforcement surveillance. Finally,

Blair told agents that he believed Booker would carry out the attack but chose not to alert

authorities and report Booker’s actions.




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       Based on the above and foregoing information, I respectfully submit probable

cause exists to support a charge of misprision of a felony, in violation of Title 18, United

States Code, Section 4, against Alexander E. Blair.



                                           s/ Nicholas Caslen
                                          NICHOLAS CASLEN
                                          Special Agent
                                          Federal Bureau of Investigation


       Sworn to before me and subscribed in my presence on this          10th        day

of April, 2015, at Topeka, Kansas.



                                           s/ Daniel D. Crabtree
                                          DANIEL D. CRABTREE
                                          United States District Judge




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